           Case 2:10-cr-00255-TLN Document 83 Filed 09/23/13 Page 1 of 4


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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
                                    )   No. 2:10-CR-255 TLN
11   UNITED STATES OF AMERICA,      )
                                    )   STIPULATION AND ORDER CONTINUING
12             Plaintiff,           )   HEARING ON DEFENDANT KIEDOCK
                                    )   KIM’S MOTION TO DISMISS CERTAIN
13        v.                        )   COUNTS OF THE INDICTMENT,
                                    )   AMENDING THE BRIEFING SCHEDULE,
14   FRENCH GULCH NEVADA MINING     )   AND EXCLUDING TIME UNDER THE
     CORPORATION, et al.,           )   SPEEDY TRIAL ACT
15                                  )
               Defendants.          )
16                                  )   Hon. Troy L. Nunley
                                    )
17
18        Whereas, the parties desire additional time to negotiate a
19   settlement in this case, but that goal has been made more
20   difficult due to the effect that certain felony convictions might
21   have on defendant’s Kiedock Kim’s immigration status in the
22   United States;
23        Whereas, defense counsel desires more time to explore the
24   possibility of a resolution of this case that might allow Kim to
25   remain in the United States after this case is resolved;
26        Whereas, both parties desire additional time to attempt to
27   negotiate a resolution of this case without the necessity of the
28   Court considering and resolving defendant Kiedock Kim’s motion to

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            Case 2:10-cr-00255-TLN Document 83 Filed 09/23/13 Page 2 of 4


1    dismiss certain counts of the Indictment, and
2          Whereas, the United States desires additional time to
3    respond to Kim’s motion, in the event that the parties are unable
4    to settle this case,
5          It is hereby stipulated by and between plaintiff United
6    States of America, on the one hand, and Kim, on the other hand,
7    through their respective undersigned counsel that:          (1) the
8    presently set October 3, 2013, hearing on Kim’s motion to dismiss
9    certain counts of the Indictment shall be continued to December
10   12,   2013, at 9:30 a.m.; (2) the United States’ response to Kim’s
11   motion shall be filed by November 21, 2013; and (3) Kim’s reply,
12   if any, shall be filed by December 5, 2013.         This continuance is
13   requested to provide the parties time to attempt to negotiate a
14   pretrial resolution of the case and, in the event the case is not
15   resolved, provide the United States additional time to respond to
16   Kim’s dismissal motion.     The parties have made offers and
17   counteroffers to resolve the case and, while the parties are
18   moving closer to resolution of the case, additional time is need
19   to more fully explore a settlement resolution as there are
20   sentencing guidelines and immigration issues that remain
21   unresolved.   The parties further stipulate and agree that
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1    computation of time within which the trial of this matter must be
2    commenced shall continue to be excluded under 18 U.S.C. §
3    3161(h)(1)(D) and Local Code E due to Kim’s pending motion to
4    dismiss.
5    DATED:    September 20, 2013        /s/ Malcolm S. Segal
                                         ______________________________
6                                        MALCOLM S. SEGAL
                                         Attorney for Defendant
7                                        Kiedock Kim
                                         (per telephone authorization)
8
9    Dated:    September 20, 2013        BENJAMIN B. WAGNER
                                         UNITED STATES ATTORNEY
10
                                         /s/ Samuel Wong
11
                                   By:   SAMUEL WONG
12                                       Assistant U.S. Attorney
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1                                        ORDER
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3         The Court having received, read, and considered the
4    stipulation of the parties, and good cause appearing therefrom,
5    adopts the stipulation of the parties in its entirety as its
6    order.    It is ordered that:      (1) the presently set October 3,
7    2013, hearing on Kim’s motion to dismiss certain counts of the
8    Indictment shall be continued to December 12, 2013, at 9:30 a.m.;
9    (2) the United States’ response to Kim’s motion shall be filed by
10   November 21, 2013; and (3) Kim’s reply, if any, shall be filed by
11   December 5, 2013.
12        It is further ordered that computation of time within which
13   the trial of this matter must be commenced shall continue to be
14   excluded under 18 U.S.C. § 3161(h)(1)(D) and Local Code E due to
15   Kim’s pending motion to dismiss through the conclusion of the
16   hearing on, or other prompt disposition of, such motion.
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18   Dated: September 23, 2013
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                                                  Troy L. Nunley
22                                                United States District Judge
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